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14                             UNITED STATES DISTRICT COURT

15                            NORTHERN DISTRICT OF CALIFORNIA

16    MICHAEL GONZALES, individually and      Case No.
      on behalf of all aggrieved employees,
17    SERGIO ROCHA, individually and on
      behalf of all aggrieved employees,      COMPLAINT
18    NORBETO ALARCON, individually and
      on behalf of all aggrieved employees,
19    ALBERTO ARENA, individually and on      DEMAND FOR JURY
      behalf of all aggrieved employees,
20    FELIPE BECERRA, individually and on
      behalf of all aggrieved employees,
21    CRAIG BOWLAN, individually and on
      behalf of all aggrieved employees,
22    RONALD FLORES, individually and on
      behalf of all aggrieved employees,
23    DENNIS HARMON, individually and on
      behalf of all aggrieved employees,
24    GERALD LLORENCE, individually and
      on behalf of all aggrieved employees,
25    JULIO HERNANDEZ, individually and on
      behalf of all aggrieved employees,
26    MICHAEL RALSTON, individually and
      on behalf of all aggrieved employees,
27    RICARDO RAMOS, individually and on
      behalf of all aggrieved employees,
28

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                                        COMPLAINT
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                                                                                                                    RAUL ROMERO, individually and on
                                                                                                             1      behalf of all aggrieved employees
                                                                                                                    CARLOS SERPAS, individually and on
                                                                                                             2      behalf of all aggrieved employees
                                                                                                                    RAYMOND ULMER, individually and on
                                                                                                             3      behalf of all aggrieved employees and
                                                                                                                    EVERARDO VILLA, individually and on
                                                                                                             4      behalf of all aggrieved employees,
                                                                                                             5                              Plaintiff,
                                                                                                             6              v.
                                                                                                             7      CHARTER COMMUNICATIONS, LLC,
                                                                                                                    and CHARTER COMMUNICATIONS,
                                                                                                             8      INC.
                                                                                                             9                              Defendants.
                                                                                                             10

                                                                                                             11                                           I.    INTRODUCTION
                                    4550 E Thousand Oaks Blvd Ste 250

                                                                        Westlake Village, California 91362
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                                                                                                             12           Plaintiffs MICHAEL GONZALES, SERGIO ROCHA, NORBETO ALARCON, ALBERTO
                                                                                                             13    ARENA, FELIPE BECERRA, CRAIG BOWLAN, RONALD FLORES, DENNIS HARMON,
                                                                                                             14    GERALD LLORENCE, JULIO HERNANDEZ, MICHAEL RALSTON, RICARDO RAMOS,
                                                                                                             15    RAUL ROMERO, CARLOS SERPAS, RAYMOND ULMER, and EVERARDO VILLA
                                                                        Ventura, California 93004
                                    1050 South Kimball Road




                                                                                                             16    (collectively referred to herein as “Plaintiffs”), by and through their counsel, bring claims herein
                                                                                                             17    individually and on behalf of all aggrieved employees and all others similarly situated pursuant to
                                                                                                             18    the Fair Labor Standards Act, 29 U.S.C. §§201 et seq. (the “FLSA”), and individually pursuant to
                                                                                                             19    the California Labor Code and the California Unfair Competition Law, against Defendants
                                                                                                             20    CHARTER COMMUNICATIONS, LLC and CHARTER COMMUNICATIONS, INC., and their
                                                                                                             21    subsidiaries and affiliates. Plaintiffs allege upon personal belief as to themselves and their own acts,
                                                                                                             22    and as for all other matters, upon information and belief, and based upon the investigation made by
                                                                                                             23    their counsel, as follows:
                                                                                                             24                                  II.      JURISDICTION AND VENUE
                                                                                                             25           1.      This Court has subject-matter jurisdiction over this action pursuant to 29 U.S.C.
                                                                                                             26    §216(b), which provides that suit under the FLSA “may be maintained against any employer… in
                                                                                                             27    any Federal or State court of competent jurisdiction.”
                                                                                                             28           2.      This Court has federal question jurisdiction over this action pursuant to 28 U.S.C.

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                                                                                                             1     §1331. This Court has supplemental jurisdiction over Plaintiffs’ state law claims pursuant to 28

                                                                                                             2     U.S.C. §1367.

                                                                                                             3            3.       Venue is proper in this District pursuant to 28 U.S.C. §1391(b) because Defendants

                                                                                                             4     reside and do business within this District, including operating a field operations maintenance

                                                                                                             5     technician office located in San Clara County at 8120 Camino Arroyo, Gilroy, California 95020.

                                                                                                             6                                               III.   PARTIES

                                                                                                             7            4.       Defendant Charter Communications, LLC is a Delaware limited liability company

                                                                                                             8     with a principal place of business is at 12405 Powerscourt Drive, St. Louis, Missouri 63131. On

                                                                                                             9     information and belief, Charter Communications, LLC is a citizen of Missouri and Delaware.

                                                                                                             10           5.       Defendant Charter Communications, Inc. is a Delaware corporation with its principal

                                                                                                             11    place of business is at 12405 Powerscourt Drive, St. Louis, Missouri 63131. Under 28
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                                                                                                             12    U.S.C. § 1332(c)(1), Charter Communications, Inc. is a citizen of Delaware and Missouri.

                                                                                                             13    Defendants Charter Communications LLC and Charter Communications, Inc. are collectively

                                                                                                             14    referred to herein as “Charter.” Charter is a provider of cable, internet, and telecommunications

                                                                                                             15    products and services in the state of California, and is an “employer” within the meaning of 29 U.S.C.
                                                                        Ventura, California 93004
                                    1050 South Kimball Road




                                                                                                             16    § 203(d) of the FLSA.

                                                                                                             17           6.       Plaintiffs are each natural persons and were each employed by Charter as full-time,

                                                                                                             18    non-exempt “employees,” as defined by Section 3(e)(1) of the FLSA, 29 U.S.C. § 203(e)(1).

                                                                                                             19           7.       Plaintiffs are all non-exempt hourly employees of Defendants in California. Plaintiffs

                                                                                                             20    are all current employees of Defendants in California, except for Plaintiff RAUL ROMERO who is

                                                                                                             21    no longer employed by Defendants.

                                                                                                             22           8.       Plaintiff MICHAEL GONZALES is a resident of Ventura County and has worked for

                                                                                                             23    Charter since prior to March 2016 to the present as a non-exempt hourly Field Operations

                                                                                                             24    Maintenance Technician.

                                                                                                             25           9.       Plaintiff SERGIO ROCHA is a resident of Ventura County and has worked for

                                                                                                             26    Charter since prior to March 2016 to the present as a non-exempt hourly Field Operations

                                                                                                             27    Maintenance Technician.

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                                                                                                             1            10.    Plaintiff NORBETO ALARCON is a resident of Ventura County and has worked for

                                                                                                             2     Charter since prior to March 2016 to the present as a non-exempt hourly Field Operations

                                                                                                             3     Maintenance Technician.

                                                                                                             4            11.    Plaintiff ALBERTO ARENA is a resident of Ventura County and has worked for

                                                                                                             5     Charter since November 2018 to the present as a non-exempt hourly Field Operations Maintenance

                                                                                                             6     Technician.

                                                                                                             7            12.    Plaintiff FELIPE BECERRA is a resident of Los Angeles County and has worked for

                                                                                                             8     Charter since prior to March 2016 to the present as a non-exempt hourly Field Operations

                                                                                                             9     Maintenance Technician.

                                                                                                             10           13.    Plaintiff CRAIG BOWLAN is a resident of Ventura County and has worked for

                                                                                                             11    Charter since prior to March 2016 to the present as a non-exempt hourly Field Operations
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                                                                                                             12    Maintenance Technician.

                                                                                                             13           14.    Plaintiff RONALD FLORES is a resident of Los Angeles County and has worked for

                                                                                                             14    Charter since prior to March 2016 to the present as a non-exempt hourly Field Operations

                                                                                                             15    Maintenance Technician.
                                                                        Ventura, California 93004
                                    1050 South Kimball Road




                                                                                                             16           15.    Plaintiff DENNIS HARMON is a resident of Ventura County and has worked for

                                                                                                             17    Charter since prior to March 2016 to the present as a non-exempt hourly Field Operations

                                                                                                             18    Maintenance Technician.

                                                                                                             19           16.    Plaintiff GERALD LLORENCE is a resident of Ventura County and has worked for

                                                                                                             20    Charter since prior to March 2016 to the present as a non-exempt hourly Field Operations

                                                                                                             21    Maintenance Technician.

                                                                                                             22           17.    Plaintiff JULIO HERNANDEZ is a resident of Los Angeles County and has worked

                                                                                                             23    for Charter since prior to March 2016 to the present as a non-exempt hourly Field Operations

                                                                                                             24    Maintenance Technician.

                                                                                                             25           18.    Plaintiff MICHAEL RALSTON is a resident of Ventura County and has worked for

                                                                                                             26    Charter since prior to March 2016 to the present as a non-exempt hourly Field Operations

                                                                                                             27    Maintenance Technician.

                                                                                                             28    //

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                                                                                                             1            19.     Plaintiff RICARDO RAMOS is a resident of Ventura County and has worked for

                                                                                                             2     Charter since prior to March 2016 to the present as a non-exempt hourly Field Operations

                                                                                                             3     Maintenance Technician.

                                                                                                             4            20.     Plaintiff RAUL ROMERO is a resident of Ventura County and worked for Charter

                                                                                                             5     from prior to March 2016 to August 2019 as a non-exempt hourly Field Operations Maintenance

                                                                                                             6     Technician.

                                                                                                             7            21.     Plaintiff CARLOS SERPAS is a resident of Ventura County and has worked for

                                                                                                             8     Charter since prior to March 2016 to the present as a non-exempt hourly Field Operations

                                                                                                             9     Maintenance Technician.

                                                                                                             10           22.     Plaintiff RAYMOND ULMER is a resident of Ventura County and has worked for

                                                                                                             11    Charter since prior to March 2016 to the present as a non-exempt hourly Field Operations
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                                                                                                             12    Maintenance Technician.

                                                                                                             13           23.     Plaintiff EVERARDO VILLA is a resident of Ventura County and has worked for

                                                                                                             14    Charter since prior to March 2016 to the present as a non-exempt hourly Field Operations

                                                                                                             15    Maintenance Technician.
                                                                        Ventura, California 93004
                                    1050 South Kimball Road




                                                                                                             16                                              IV.    FACTS

                                                                                                             17           A.      CHARTER’S ON-CALL POLICY

                                                                                                             18           24.     Plaintiffs worked for Charter as “Field Operations Maintenance Technicians” (“Field

                                                                                                             19    Ops Techs”) during the applicable statute of limitations period. Field Ops Techs are, among other

                                                                                                             20    things, responsible for responding to emergency outages in Charter’s cable, internet, and

                                                                                                             21    telecommunication services infrastructure. Response time to these emergencies is a critical aspect

                                                                                                             22    of the job as a single outage may affect tens of thousands of Charter’s customers.

                                                                                                             23           25.     As Field Ops Techs, Plaintiffs were subjected to Charter’s “on-call” policy (the “On-

                                                                                                             24    Call Policy”). The stated purpose of the On-Call Policy was to ensure that Charter’s network and

                                                                                                             25    systems functioned reliably at all times. To that end, Charter required Plaintiffs to work “on-call”

                                                                                                             26    for week-long periods in order to respond to plant and service emergencies outside of Plaintiffs’

                                                                                                             27    regular work schedule.

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                                                                                                             1               26.   Plaintiffs were assigned 24-hour a day on-call duty according to a rotating schedule

                                                                                                             2     such that each of the Plaintiffs worked on-call approximately every four to five weeks. For those

                                                                                                             3     weeks, Plaintiffs worked 128 on-call hours in addition to their regular full-time 40-hour workweek.

                                                                                                             4               B.    CHARTER’S PAYMENT OF “ON-CALL PAY”

                                                                                                             5               27.   Charter and Plaintiffs agreed that on-call duty was compensable work. Specifically,

                                                                                                             6     Charter paid Plaintiffs “on-call pay,” which was flat-rate (believed to be approximately $245.00) for

                                                                                                             7     each week-long on-call period.

                                                                                                             8               28.   If Plaintiffs were called in and required to actually report to a specific location while

                                                                                                             9     on-call, in addition to the weekly “on-call pay,” Charter paid “call-out pay,” which was 1.5 times the

                                                                                                             10    employee’s regular rate of pay. Plaintiffs received at least two hours of call-out pay even if attending

                                                                                                             11    to the job order took less than two hours. Plaintiffs received all said two-hour minimum call-out
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                                                                                                             12    pay. As such, Plaintiffs make no claims herein for non-payment of call-out pay.

                                                                                                             13
                                                                                                                             C.    CHARTER’S ON-CALL RESTRICTIONS
                                                                                                             14
                                                                                                                             29.   While working on-call, Charter subjected Plaintiffs and all other Field Ops Techs to
                                                                                                             15
                                                                        Ventura, California 93004
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                                                                                                                   the same numerous unreasonable and excessive restrictions, with regard to cell phone maintenance,
                                                                                                             16
                                                                                                                   accessibility via cell phone, uniform requirements, physical/mental condition requirements, response
                                                                                                             17
                                                                                                                   time and reporting time.
                                                                                                             18
                                                                                                                             D.    CHARTER’S INTENSE “BUCKET TRUCK” RESTRICTIONS
                                                                                                             19
                                                                                                                             30.   Exacerbating the confinement of the geographic and time constraints, Charter
                                                                                                             20
                                                                                                                   required Field Ops Techs to be effectively anchored to Charter-owned vehicles the entire time that
                                                                                                             21
                                                                                                                   they were on-call. If called in, Field Ops Techs were required report to the site in a Charter-owned
                                                                                                             22
                                                                                                                   vehicle, which was a large “bucket truck” outfitted with a mechanized crane and aerial lift platform
                                                                                                             23
                                                                                                                   (the “Bucket Truck”).
                                                                                                             24
                                                                                                                             31.   Per Charter policy, Field Ops Techs took the Bucket Trucks home with them after
                                                                                                             25
                                                                                                                   their regular workweek shifts, including the weeks that they were on-call. Charter monitored the
                                                                                                             26
                                                                                                                   exact location of each Bucket Truck through the ignition-triggered GPS systems installed on the
                                                                                                             27
                                                                                                                   trucks.
                                                                                                             28

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                                                                                                             1            32.     In order to “minimize response time” Charter permitted Field Ops Techs to drive the

                                                                                                             2     Bucket Trucks for “non-business purposes” during their on-call periods. However, these “non-

                                                                                                             3     business purposes” were extremely limited.

                                                                                                             4            33.     Charter allowed them to use the Buckets Truck for limited personal engagements that

                                                                                                             5     they needed to attend to more than a few minutes from their homes, but they were prohibited from

                                                                                                             6     using the Buckets Trucks as regular “daily driver” vehicles in order to perform day-to-day errands

                                                                                                             7     and quick trips. The result is that, while on-call, they parked and kept the Bucket Trucks at their

                                                                                                             8     residences, and they stayed at home tethered to them.

                                                                                                             9            34.     When Plaintiffs took the Bucket Trucks home, Charter required Plaintiffs to perform

                                                                                                             10    “Circle of Safety” inspections: (1) every time they drove the Bucket Trucks after leaving them

                                                                                                             11    unattended; or (2) any time they drove in reverse gear. They were also required on a daily basis –
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                                                                                                             12    even on days in which they did not work one of their regular workweek shifts – to maintain the

                                                                                                             13    Bucket Trucks in a “neat and clean” condition by, among other things, disposing of all “[e]xcessive

                                                                                                             14    trash (fast food bags, soft drink cans, coffee cups, candy bar wrappers, etc.” If involved in an

                                                                                                             15    accident in the Bucket Trucks during their on-call periods, even on days when they didn’t work one
                                                                        Ventura, California 93004
                                    1050 South Kimball Road




                                                                                                             16    of their regular workweek shifts, Field Ops Techs were required to submit to a drug and alcohol test

                                                                                                             17    within 24 hours.

                                                                                                             18           35.     In addition, every time Field Ops Techs left a Bucket Truck unattended, they were

                                                                                                             19    required to ensure that all doors and equipment containers were locked and that all applicable safety

                                                                                                             20    procedures had been followed.

                                                                                                             21            E.     CHARTER FAILED TO PAY ALL WAGES OWED

                                                                                                             22           36.     As stated, during the on-call periods, Plaintiffs and all other Field Ops Techs worked

                                                                                                             23    128 on-call hours. Despite Charter’s agreement that on-call time was compensable working time,

                                                                                                             24    and the excessive degree of control exercised by Charter over Field Ops Techs during the on-call

                                                                                                             25    periods, Charter only paid them a flat-rate compensation of $245.00 per on-call period, or

                                                                                                             26    approximately $1.91 per on-call hour when divided equally.

                                                                                                             27           37.     Apart from non-payment of wages for on-call work, Charter’s requirements that Field

                                                                                                             28    Ops Techs: (1) perform “Circle of Safety” inspections every time they drove the Bucket Trucks

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                                                                                                             1     outside of their regularly-scheduled shifts; and (2) perform daily maintenance and safety inspections

                                                                                                             2     and cleaning of the Bucket Trucks outside of their regularly-scheduled shifts, was work in excess of

                                                                                                             3     their regular 40-hour workweek. Charter failed to pay Plaintiffs and all other Field Ops Techs for

                                                                                                             4     this overtime work.

                                                                                                             5            F.       FLSA COLLECTIVE ACTION ALLEGATIONS

                                                                                                             6            38.      Plaintiffs bring this action as a collective action on behalf of themselves and all other

                                                                                                             7     similarly aggrieved employees pursuant to 29 U.S.C. § 216(b) to recover unpaid wages, unpaid

                                                                                                             8     overtime compensation, liquidated damages, unlawfully withheld wages, statutory penalties,

                                                                                                             9     attorneys’ fees and costs, and other damages owed.

                                                                                                             10           39.      The proposed opt-in collective class of similarly aggrieved employees is defined as:

                                                                                                             11
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                                                                                                                          All individuals who were employed, or are currently employed, by one or more of
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                                                                                                             12           the Defendants, as field operations maintenance technicians or any other similarly-
                                                                                                                          titled position at any time during the applicable statutory period.
                                                                                                             13
                                                                                                                          40.      This action is properly maintained as a collective action because the representative
                                                                                                             14
                                                                                                                   Plaintiffs are similarly situated to the members of the collective class with respect to job title, job
                                                                                                             15
                                                                        Ventura, California 93004
                                    1050 South Kimball Road




                                                                                                                   description, training requirements, job duties, Charter’s failure to pay overtime hours, including
                                                                                                             16
                                                                                                                   overtime for time spent working on-call, and the wage and hour violations alleged in this Complaint,
                                                                                                             17
                                                                                                                   amongst other things.
                                                                                                             18
                                                                                                                          41.      Charter encouraged, suffered and permitted the representative Plaintiffs and the
                                                                                                             19
                                                                                                                   collective class members to work more than forty (40) hours per week without the proper overtime
                                                                                                             20
                                                                                                                   compensation.
                                                                                                             21
                                                                                                                          42.      Charter knew that the representative Plaintiffs and the collective class members
                                                                                                             22
                                                                                                                   performed work that required additional wages and overtime compensation to be paid. Nonetheless,
                                                                                                             23
                                                                                                                   Charter operated under a cost-savings scheme, as described above, to deprive the representative
                                                                                                             24
                                                                                                                   Plaintiffs and the collective class members of wages and overtime compensation.
                                                                                                             25
                                                                                                                          43.      Charter’s conduct, as alleged herein, was willful and has caused significant damage
                                                                                                             26
                                                                                                                   to the representative Plaintiffs and the collective class.
                                                                                                             27
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                                                                                                             1            44.     Charter is liable under the FLSA for failing to properly compensate the representative

                                                                                                             2     Plaintiff and the collective class. Plaintiffs request that the Court authorize notice to the members of

                                                                                                             3     the collective class to inform them of the pendency of this action and their right to “opt-in” to this

                                                                                                             4     lawsuit pursuant to 29 U.S.C. §216(b), for the purpose of seeking unpaid wages, unpaid overtime

                                                                                                             5     compensation, liquidated damages under the FLSA, and the other relief requested herein.

                                                                                                             6            45.     Plaintiff estimates that there are in excess of 4,800 members of the collective class.

                                                                                                             7     The precise number of collective class members can be easily ascertained by using Charter’s payroll

                                                                                                             8     and personnel records. Given the composition and size of the class, members of the collective class

                                                                                                             9     may be informed of the pendency of this action directly via U.S. mail, e-mail and by posting notice

                                                                                                             10    in Charter’s offices.

                                                                                                             11                                                  COUNT I
                                    4550 E Thousand Oaks Blvd Ste 250

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                                                                                                             12
                                                                                                                                      VIOLATION OF THE FAIR LABOR STANDARDS ACT
                                                                                                             13                                 (29 U.S.C. §§ 206(a)(1)and 207(a)(1))
                                                                                                                                        Failure to Pay Minimum Wage and Overtime Wages
                                                                                                             14                                (All Plaintiffs Against All Defendants)
                                                                                                             15           46.     Plaintiffs reallege and incorporate by reference the allegations of the above-numbered
                                                                        Ventura, California 93004
                                    1050 South Kimball Road




                                                                                                             16    paragraphs as if fully set forth herein.
                                                                                                             17           47.     Plaintiffs and the collective class members all shared similar job titles, training, job
                                                                                                             18    descriptions, job requirements and compensation plans. Charter managed the work performed by
                                                                                                             19    Plaintiffs and the collective class members, including the amount of hours they worked. Charter
                                                                                                             20    dictated, controlled and ratified the wage and hour and all related employee compensation policies.
                                                                                                             21    Charter classified Plaintiffs and the collective members as non-exempt under the FLSA and paid
                                                                                                             22    them on an hourly rate.
                                                                                                             23           48.     Section 206(a)(1) of the Fair labor Standards Act (“FLSA”) states that an employer
                                                                                                             24    must pay a non-exempt employee at a prescribed minimum wage for each hour worked.
                                                                                                             25           49.     Defendants failed to pay Plaintiffs and the collective class members for all hours they
                                                                                                             26    worked at the applicable federally mandated minimum wage.
                                                                                                             27    //
                                                                                                             28    //

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                                                                                                             1           50.     Section 207(a)(1) of the Fair labor Standards Act (“FLSA”) states that an employer

                                                                                                             2    must pay a non-exempt employee overtime, equal to at least 1.5 times the employee’s regular rate of

                                                                                                             3    pay, for all hours worked in excess of 40 hours per week.

                                                                                                             4           51.     Defendants failed to pay Plaintiffs and the collective class members for all hours they

                                                                                                             5    worked at the applicable federally mandated overtime/double-time rates.

                                                                                                             6           52.     Two predominant factors are considered in determining whether an employee’s “on-

                                                                                                             7    call” waiting time is compensable overtime. Those factors are: (1) any agreement between the

                                                                                                             8    parties; and (2) the degree to which the employee is free to engage in personal activities. Owens v.

                                                                                                             9    Local No. 169, Ass'n of Western Pulp and Paper Workers, 971 F.2d 347 (9th Cir. 1992.)

                                                                                                             10          53.     Charter paid Plaintiffs and the collective members class flat compensation of $245 as

                                                                                                             11   “on-call pay.” Charter’s agreement to pay Plaintiffs and the collective class members “on-call pay”
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                                                                                                             12   was a tacit admission by Charter that the on-call time was compensable working time.

                                                                                                             13          54.     In addition, Plaintiffs and the collective class members were highly restricted while

                                                                                                             14   on-call. During their on-call weeks, Plaintiffs and the collective class members spent every minute

                                                                                                             15   outside of their regular full-time work schedules working on-call. Among other restrictions, they
                                                                        Ventura, California 93004
                                    1050 South Kimball Road




                                                                                                             16   could not leave their coverage areas and they had to immediately respond to calls and immediately

                                                                                                             17   travel to job sites (in uniform) in order to resolve the emergencies within Charter’s two-hour time

                                                                                                             18   requirement.   Adding to these excessive geographic and unduly restrictive fixed time limit

                                                                                                             19   restrictions, Charter required Plaintiffs and the collective class members to be anchored to the Bucket

                                                                                                             20   Trucks. They had to stay with their trucks (or be no more than a few minutes away) at all times. In

                                                                                                             21   effect, this restriction confined them to their homes where the trucks were parked, or to the immediate

                                                                                                             22   vicinity, and it was akin to an on-premises living requirement. Plaintiffs and the collective class

                                                                                                             23   members could only travel in the trucks for limited purposes, and only then if they adhered to

                                                                                                             24   numerous restrictions including, among other things: that they travel alone; that they refrain from

                                                                                                             25   eating; that they pull over before making outgoing telephone calls (even if they had hands-free

                                                                                                             26   capability); and that they perform extensive maintenance and safety checks every time they began

                                                                                                             27   driving the trucks or any time that they drove in reverse gear. Further, Plaintiffs and the collective

                                                                                                             28

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                                                                                                                                                             COMPLAINT
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                                                                                                             1    class were required to conduct inspections on the trucks and maintain them on a daily basis, even on

                                                                                                             2    days on which they did not work one of their regular workweek shifts.

                                                                                                             3              55.   For the week-long periods that Plaintiffs and the collective class members worked

                                                                                                             4    on-call, the time that they worked on-call was in excess of 40 hours per week and compensable at

                                                                                                             5    1.5 times the their regular rate of pay.

                                                                                                             6              56.   Further, Plaintiffs and the collective class members took the Bucket Trucks home

                                                                                                             7    after every shift, even when they were not working on-call. Charter required Plaintiffs and the

                                                                                                             8    collective class members perform “Circle of Safety” inspections: (1) every time they drove the

                                                                                                             9    Bucket Trucks after leaving them unattended; or (2) any time they drove in reverse gear. All such

                                                                                                             10   “Circle of Safety” inspections conducted outside of their regularly-scheduled work shifts was

                                                                                                             11   additional work in excess of their regular 40-hour workweek. Likewise, Charter’s requirement that
                                    4550 E Thousand Oaks Blvd Ste 250

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                                                                                                             12   Plaintiffs and the collective class members perform daily maintenance and safety inspections and

                                                                                                             13   cleaning of the Bucket Trucks outside of their regularly-scheduled work shifts was additional work

                                                                                                             14   in excess of their regular 40-hour workweek.

                                                                                                             15             57.   Through its actions, policies and practices, Charter violated the FLSA by regularly
                                                                        Ventura, California 93004
                                    1050 South Kimball Road




                                                                                                             16   and repeatedly failing to compensate them for all actual overtime worked at the proper rate of pay.

                                                                                                             17             58.   Charter’s actions were willful and not in good faith.

                                                                                                             18             59.   As a direct and proximate cause of Charter’s unlawful conduct, Plaintiffs and the

                                                                                                             19   collective class members have suffered and will continue to suffer damages in amounts which are

                                                                                                             20   presently unknown to Plaintiffs and the collective class members, but which exceed the jurisdictional

                                                                                                             21   limits of this Court, and which will be ascertained according to proof at trial.

                                                                                                             22             60.   Charter is liable to Plaintiffs and the collective class members for actual damages,

                                                                                                             23   liquidated damages and equitable relief, pursuant to 29 U.S.C. §216(b), as well as reasonable

                                                                                                             24   attorneys’ fees, costs and expenses.

                                                                                                             25             61.   Plaintiffs and the collective class members are also entitled to injunctive relief to

                                                                                                             26   prevent Charter from continuing its violation of the FLSA, as well as other appropriate injunctive

                                                                                                             27   relief.

                                                                                                             28   //

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                                                                                                                                                                  COUNT II
                                                                                                             1
                                                                                                                            VIOLATION OF CALIFORNIA LABOR CODE §§ 510, 1194, 1197, 1198
                                                                                                             2
                                                                                                                               Failure to Pay Minimum Wage and Overtime/Double-Time Wages
                                                                                                             3                               (All Plaintiffs Against All Defendants)

                                                                                                             4           62.      Plaintiffs reallege and incorporate by reference the allegations of the above-numbered

                                                                                                             5    paragraphs as through fully set forth herein.

                                                                                                             6           63.      Charter dictated, controlled and ratified the wage and hour and all related employee

                                                                                                             7    compensation policies.

                                                                                                             8           64.      Charter classified Plaintiffs as non-exempt under California law and paid them on an

                                                                                                             9    hourly rate.

                                                                                                             10          65.      California law requires payment of at least the state-mandated minimum wage for all

                                                                                                             11   hours worked by non-exempt employees. (See Lab. Code, §§ 1194, 1197.) Hourly wages cannot be
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                                                                                                             12   averaged out to cover hours worked during which no compensation was paid. (See Armenta v.

                                                                                                             13   Osmose (2005) 135 Cal.App.4th 314, 322-24.)

                                                                                                             14          66.      Plaintiffs regularly worked hours for which they were not paid the state-mandated

                                                                                                             15   minimum wage.
                                                                        Ventura, California 93004
                                    1050 South Kimball Road




                                                                                                             16          67.      California Labor Code § 510 codifies the right to overtime compensation at the rate

                                                                                                             17   of one and one-half times the regular rate for all hours worked in excess of eight (8) hours in a day

                                                                                                             18   or forty (40) hours in a work week, and to overtime compensation at twice the regular rate of pay for

                                                                                                             19   hours worked in excess of twelve (12) hours in a day or in excess of eight (8) hours in a day on the

                                                                                                             20   seventh day of work in a particular week.

                                                                                                             21          68.      Plaintiffs regularly worked overtime and double-time hours for which they were not

                                                                                                             22   paid the state-mandated overtime and double-time wages.

                                                                                                             23          69.      Instead of paying Plaintiffs either the proper minimum wages and overtime/double-

                                                                                                             24   time wages, Charter paid Plaintiffs flat compensation of $245 as “on-call pay.” Charter’s agreement

                                                                                                             25   to pay Plaintiffs “on-call pay” was a tacit admission by Charter that the on-call time was compensable

                                                                                                             26   working time.

                                                                                                             27          70.      In addition, Plaintiffs were highly restricted while on-call. During their on-call weeks,

                                                                                                             28   Plaintiffs spent every minute outside of their regular full-time work schedules working on-call.


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                                                                                                             1    Among other restrictions, they could not leave their coverage areas and they had to immediately

                                                                                                             2    respond to calls and immediately travel to job sites (in uniform) in order to resolve the emergencies

                                                                                                             3    within Charter’s two-hour time requirement. Adding to these excessive geographic and unduly

                                                                                                             4    restrictive fixed time limit restrictions, Charter required Plaintiffs to be anchored to the Bucket

                                                                                                             5    Trucks. They had to stay with their trucks (or be no more than a few minutes away) at all times. In

                                                                                                             6    effect, this restriction confined them to their homes where the trucks were parked, or to the immediate

                                                                                                             7    vicinity, and it was akin to an on-premises living requirement. Plaintiffs could only travel in the

                                                                                                             8    trucks for limited purposes, and only then if they adhered to numerous restrictions including, among

                                                                                                             9    other things: that they travel alone; that they refrain from eating; that they pull over before making

                                                                                                             10   outgoing telephone calls (even if they had hands-free capability); and that they perform extensive

                                                                                                             11   maintenance and safety checks every time they began driving the trucks or any time that they drove
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                                                                                                             12   in reverse gear. Further, Plaintiffs were required to conduct inspections on the trucks and maintain

                                                                                                             13   them on a daily basis, even on days on which they did not work one of their regular workweek shifts.

                                                                                                             14          71.     For the week-long periods that Plaintiffs worked on-call, the time that they worked

                                                                                                             15   on-call was in excess of 40 hours per week and compensable at 1.5 time the their regular rate of pay.
                                                                        Ventura, California 93004
                                    1050 South Kimball Road




                                                                                                             16          72.     Further, Plaintiffs took the Bucket Trucks home after every shift, even when they

                                                                                                             17   were not working on-call. When Plaintiffs took the Bucket Trucks home, Charter required Plaintiffs

                                                                                                             18   to perform “Circle of Safety” inspections: (1) every time they drove the Bucket Trucks after leaving

                                                                                                             19   them unattended; or (2) any time they drove in reverse gear. All such “Circle of Safety” inspections

                                                                                                             20   conducted outside of their regularly-scheduled work shifts was additional work in excess of their

                                                                                                             21   regular 40-hour workweek. Likewise, Charter’s requirement that Plaintiffs perform daily

                                                                                                             22   maintenance and safety inspections and cleaning of the Bucket Trucks outside of their regularly-

                                                                                                             23   scheduled work shifts was additional work in excess of their regular 40-hour workweek.

                                                                                                             24          73.     At all times relevant hereto, Charter failed to pay Plaintiffs minimum wages and

                                                                                                             25   overtime/double-time compensation in violation of California Labor Code § 510 § 1194, § 1197, and

                                                                                                             26   § 1198, and the applicable IWC wage orders.

                                                                                                             27          74.     Plaintiffs worked in excess of 40 hours per week for Charter but were not properly

                                                                                                             28   paid overtime wages in violation of the California Labor Code. Through its actions, policies and

                                                                                                                                                                13
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                                                                                                             1    practices, Charter violated the California Labor Code by regularly and repeatedly failing to

                                                                                                             2    compensate them for all actual overtime worked at the proper rate of pay. Plaintiff seeks such

                                                                                                             3    minimum wages and overtime/double-time wages owed to them for the applicable statutory period

                                                                                                             4    measured backward from the date of the filing of the initial Complaint in this matter.

                                                                                                             5            75.       The exact amount of minimum wages and overtime/double-time owed will not be

                                                                                                             6    fully ascertained until discovery is completed. Until Defendants produce the necessary documents

                                                                                                             7    for an accounting, Plaintiff is unable to determine the exact amount of said wages.

                                                                                                             8            76.       Labor Code section 218.6 states, "[I]n any action brought for the nonpayment of

                                                                                                             9    wages, the court shall award interest on all due and unpaid wages at the rate of interest specified in

                                                                                                             10   subdivision (b) of Section 3289 of the Civil Code, which shall accrue from the date that the wages

                                                                                                             11   were due and payable as provided in Part 1 (commencing with Section 200) of Division 2." Plaintiff
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                                                                                                             12   seeks such interest on all minimum wages owed to them for the three-year period measured backward

                                                                                                             13   from the date of the filing of the initial Complaint in this matter.

                                                                                                             14           77.       Pursuant to Labor Code § 1194, Plaintiffs are entitled to recover unpaid minimum

                                                                                                             15   wages and overtime/double-time wages, as well as attorney’s fees, costs, and interest.
                                                                        Ventura, California 93004
                                    1050 South Kimball Road




                                                                                                             16           78.       Plaintiff seeks liquidated damages in an amount equal to the minimum wages due to

                                                                                                             17   him and the Putative Class under Labor Code section 1194.2. Plaintiffs are also entitled to injunctive

                                                                                                             18   relief to prevent Charter from continuing its California Labor Code violations, as well as other

                                                                                                             19   appropriate injunctive relief.

                                                                                                             20           79.       As a direct and proximate cause of Charter’s unlawful conduct, Plaintiffs have

                                                                                                             21   suffered and will continue to suffer damages in amounts which are presently unknown to Plaintiffs

                                                                                                             22   but which exceed the jurisdictional limits of this Court, and which will be ascertained according to

                                                                                                             23   proof at trial.

                                                                                                             24   //

                                                                                                             25   //

                                                                                                             26   //

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                                                                                                                                                               COMPLAINT
                                                                                                             Case 2:20-cv-08299-PA-AS Document 1 Filed 04/17/20 Page 15 of 20 Page ID #:15


                                                                                                                                                               COUNT III
                                                                                                             1
                                                                                                                                     VIOLATION OF CALIFORNIA LABOR CODE § 226(a)
                                                                                                             2
                                                                                                                                      Failure to Provide Accurate Itemized Wage Statements
                                                                                                             3                                 (All Plaintiffs Against All Defendants)

                                                                                                             4           80.     Plaintiffs reallege and incorporate by reference the allegations of the above-numbered

                                                                                                             5    paragraphs as through fully set forth herein.

                                                                                                             6           81.     California Labor Code section 226 provides:
                                                                                                                                 Every employer shall, semimonthly or at the time of each payment of wages,
                                                                                                             7                   furnish each of his or her employees, either as a detachable part of the check,
                                                                                                                                 draft, or voucher paying the employee's wages, or separately when wages are
                                                                                                             8
                                                                                                                                 paid by personal check or cash, an itemized statement in writing showing (1)
                                                                                                             9                   gross wages earned, (2) total hours worked by the employee, except for any
                                                                                                                                 employee whose compensation is solely based on a salary and who is exempt
                                                                                                             10                  from payment of overtime under subdivision (a) of Section 515 or any
                                                                                                             11                  applicable order of the Industrial Welfare Commission, (3) the number of
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                                                                                                                                 piece-rate units earned and any applicable piece rate if the employee is paid
                                                                        Westlake Village, California 91362
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                                                                                                             12                  on a piece-rate basis, (4) all deductions, provided, that all deductions made on
                                                                                                                                 written orders of the employee may be aggregated and shown as one item, (5)
                                                                                                             13
                                                                                                                                 net wages earned, (6) the inclusive dates of the period for which the employee
                                                                                                             14                  is paid, (7) the name of the employee and his or her social security number,
                                                                                                                                 (8) the name and address of the legal entity that is the employer, and (9) all
                                                                                                             15                  applicable hourly rates in effect during the pay period and the corresponding
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                                                                                                             16                  number of hours worked at each hourly rate by the employee.

                                                                                                             17          82.     In this case, Defendants have failed to provide such wage deduction statements to
                                                                                                             18   Plaintiffs in that their wage deduction statements do not include, without limitation, their gross wages
                                                                                                             19   earned, all hours worked, net wages earned, or all applicable hourly rates in effect during the pay
                                                                                                             20   period, and the corresponding number of hours worked at each hourly rate by the employee.
                                                                                                             21          83.     Pursuant to Labor Code section 226(e), damages are appropriate. At this time,
                                                                                                             22   Plaintiffs believe and allege that they are owed the maximum allowable penalty under section 226(e)
                                                                                                             23   because Defendants failed to provide adequate paycheck stubs.
                                                                                                             24          84.     Pursuant to Labor Code section 226, Plaintiffs are entitled to recover penalties of $50
                                                                                                             25   for the initial pay period in which the violation occurred and $100 per pay period for each additional
                                                                                                             26   violation, up to $4,000 per employee, and an award of costs and reasonable attorney’s fees.
                                                                                                             27          85.     The exact amount of damages under Labor Code section 226(e) will not be fully
                                                                                                             28   ascertained until discovery is completed. Until Defendants produce the necessary documents for an

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                                                                                                             1    accounting, Plaintiffs are unable to determine the exact amount of damages under Labor Code

                                                                                                             2    section 226(e).

                                                                                                             3           86.        Pursuant to Labor Code section 226(e), Plaintiff requests the court to award Plaintiffs’

                                                                                                             4    reasonable attorney’s fees and costs incurred by Plaintiffs in this action.

                                                                                                             5                                                 COUNT IV
                                                                                                             6                           VIOLATION OF CALIFORNIA LABOR CODE § 203
                                                                                                             7                                Failure to Pay Wages Due Upon Termination
                                                                                                                                        (Only Plaintiff RAUL ROMERO Against All Defendants)
                                                                                                             8
                                                                                                                         87.        Plaintiff RAUL ROMERO realleges and incorporates by reference the allegations of
                                                                                                             9
                                                                                                                  the above-numbered paragraphs as through fully set forth herein.
                                                                                                             10
                                                                                                                         88.        Labor Code § 203 provides for the assessment of a penalty against the employer when
                                                                                                             11
                                                                                                                  there is a failure to pay wages due the employee at conclusion of the employment relationship.
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                                                                                                             12
                                                                                                                         89.        Plaintiff RAUL ROMERO retired from Charter on or about August 2019.
                                                                                                             13
                                                                                                                         90.        Pursuant to California Labor Code section 203, it is alleged that Defendants have
                                                                                                             14
                                                                                                                  willfully failed to pay without abatement or reduction all the wages owed to Plaintiff RAUL
                                                                                                             15
                                                                        Ventura, California 93004
                                    1050 South Kimball Road




                                                                                                                  ROMERO at the time of his separation.
                                                                                                             16
                                                                                                                         91.        Defendants are aware that they owe the wages claimed yet have willfully failed to
                                                                                                             17
                                                                                                                  make payment.
                                                                                                             18
                                                                                                                         92.        As a result of Defendants willful failure to pay all wages owed at termination, Plaintiff
                                                                                                             19
                                                                                                                  RAUL ROMERO seeks wages and penalties pursuant to Labor Code section 203. According to
                                                                                                             20
                                                                                                                  Labor Code section 203, these penalties consist of up to 30 days of pay for Plaintiff RAUL ROMERO
                                                                                                             21
                                                                                                                  at his regular rate of pay, including overtime.
                                                                                                             22
                                                                                                                         93.        Plaintiff RAUL ROMERO has been available and ready to receive wages owed to
                                                                                                             23
                                                                                                                  him.
                                                                                                             24
                                                                                                                         94.        Plaintiff RAUL ROMERO has never refused to receive any payment, nor has Plaintiff
                                                                                                             25
                                                                                                                  been absent from his regular place of residence.
                                                                                                             26
                                                                                                                  //
                                                                                                             27
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                                                                                                                                                                COMPLAINT
                                                                                                             Case 2:20-cv-08299-PA-AS Document 1 Filed 04/17/20 Page 17 of 20 Page ID #:17



                                                                                                             1           95.     Defendants’ failure to pay wages due and owing to Plaintiff RAUL ROMERO as

                                                                                                             2    indicated in prior paragraphs was willful. Defendants have knowingly refused to pay any portion of

                                                                                                             3    the amount due and owing Plaintiff RAUL ROMERO.

                                                                                                             4           96.     Pursuant to Labor Code sections 218.5, Plaintiff RAUL ROMERO requests the Court

                                                                                                             5    to award him reasonable attorney’s fees and costs incurred in this action.

                                                                                                             6           97.     Plaintiff RAUL ROMERO also requests all unpaid wages, Labor Code section 203

                                                                                                             7    penalties and interest. The exact amount of actual wages and Labor Code section 203 penalties owed

                                                                                                             8    will not be fully ascertained until discovery is completed. Until Defendants produce the necessary

                                                                                                             9    documents for an accounting, Plaintiff RAUL ROMERO is unable to determine the exact amount of

                                                                                                             10   wages and Labor Code section 203 penalties owed.

                                                                                                             11                                                   COUNT V
                                    4550 E Thousand Oaks Blvd Ste 250

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                                                                                                             12                                   FOR UNFAIR COMPETITION
                                                                                                             13                                 Cal. Bus. & Prof. Code § 17200, et seq.
                                                                                                                                                       (Against All Defendants)
                                                                                                             14
                                                                                                                         98.     Plaintiffs reallege and incorporate by reference the allegations of the above-numbered
                                                                                                             15
                                                                        Ventura, California 93004
                                    1050 South Kimball Road




                                                                                                                  paragraphs as through fully set forth herein.
                                                                                                             16
                                                                                                                         99.     California’s Unfair Competition Law (Bus. & Prof. Code §17200 et seq.) (the “UCL”)
                                                                                                             17
                                                                                                                  prohibits acts of “unfair competition,” including any unlawful, unfair, fraudulent, or deceptive
                                                                                                             18
                                                                                                                  business act or practice.
                                                                                                             19
                                                                                                                         100.    Charter is a “person” as that term is defined under the UCL.
                                                                                                             20
                                                                                                                         101.    Since at least in or about May 2016, and at all relevant times hereto, by and through
                                                                                                             21
                                                                                                                  the conduct described herein, Charter has engaged in unfair and unlawful business practices under
                                                                                                             22
                                                                                                                  California Business and Professions Code section 17200 et seq. and California case law including
                                                                                                             23
                                                                                                                  Cortez v. Purolator Air Filtration Products Co. (2000) 23 Cal.App.4th 163 by failing to properly
                                                                                                             24
                                                                                                                  pay all minimum and overtime/double-time wages to Plaintiffs.
                                                                                                             25
                                                                                                                         102.    As a direct and proximate result of Charter’s unfair business practices, Plaintiffs have
                                                                                                             26
                                                                                                                  been injured in fact and have lost money or property, and Charter has been unjustly enriched.
                                                                                                             27
                                                                                                                  //
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                                                                                                                                                             COMPLAINT
                                                                                                             Case 2:20-cv-08299-PA-AS Document 1 Filed 04/17/20 Page 18 of 20 Page ID #:18



                                                                                                             1            103.   As a result of the conduct of Defendants, Defendants profited from breaking the law.

                                                                                                             2    Plaintiffs seek disgorgement of this unlawfully obtained benefit (plus interest thereon) for the four-

                                                                                                             3    year period measured backward from the date of filing of the initial Complaint in this matter.

                                                                                                             4    Plaintiffs are entitled to relief, including full restitution and/or disgorgement of all money and

                                                                                                             5    property of which Plaintiffs have been deprived and wrongfully retained by Charter.

                                                                                                             6            104.   Plaintiffs are further entitled to, and do, seek a declaration that the above-described

                                                                                                             7    business practices are unfair and unlawful and an injunction restraining Charter from further

                                                                                                             8    engaging in any of the above-described unlawful and unfair business practices.

                                                                                                             9

                                                                                                             10                                        PRAYER FOR RELIEF

                                                                                                             11          WHEREFORE Plaintiffs MICHAEL GONZALES, SERGIO ROCHA, NORBETO
                                    4550 E Thousand Oaks Blvd Ste 250

                                                                        Westlake Village, California 91362
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                                                                                                             12   ALARCON, ALBERTO ARENA, FELIPE BECERRA, CRAIG BOWLAN, RONALD FLORES,

                                                                                                             13   DENNIS HARMON, GERALD LLORENCE, JULIO HERNANDEZ, MICHAEL RALSTON,

                                                                                                             14   RICARDO RAMOS, RAUL ROMERO, CARLOS SERPAS, RAYMOND ULMER, and

                                                                                                             15   EVERARDO VILLA, each in their individual capacity and on behalf of all similarly aggrieved
                                                                        Ventura, California 93004
                                    1050 South Kimball Road




                                                                                                             16   employees and all others similarly situated as to the FLSA claims, and individually as to the state

                                                                                                             17   law claims, pray for judgment against Defendants Charter Communications, LLC and Charter

                                                                                                             18   Communications, Inc. as follows:

                                                                                                             19           1.     For compensatory damages, including all unpaid minimum and/or overtime/double-

                                                                                                             20   time wages owing under California and federal law, in an amount according to proof;

                                                                                                             21           2.     For prejudgment interest pursuant to Labor Code section 218.6 and Civil Code

                                                                                                             22   sections 3288 and 3291 on all amounts claimed;

                                                                                                             23           3.     For liquidated damages permitted under Labor Code section 1194.2

                                                                                                             24           4.     For liquidated damages permitted under 29 U.S.C § 216(b);

                                                                                                             25           5.     For all applicable penalties, including, but not limited to waiting-time penalties under

                                                                                                             26   Labor Code Section 203, to the extent applicable herein;

                                                                                                             27           6.     For attorney’s fees, costs, and interest as permitted under both federal and California

                                                                                                             28   law;

                                                                                                                                                                18
                                                                                                                                                             COMPLAINT
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                                                                                                             1           7.     For injunctive relief ordering the continuing overtime violations to cease, or as the

                                                                                                             2    Court otherwise deems just and proper;

                                                                                                             3           8.     For a jury trial as to all causes of action; and

                                                                                                             4           9.     For such further relief as the Court deems just and equitable.

                                                                                                             5

                                                                                                             6    Date: April 17, 2020                          FERGUSON CASE ORR PATERSON LLP

                                                                                                             7                                                  By: /s/ Max R. Engelhardt
                                                                                                                                                                    Max R. Engelhardt
                                                                                                             8                                                      Attorneys for Plaintiffs
                                                                                                             9

                                                                                                             10   Date: April 17, 2020                          STRAUSS & STRAUSS APC

                                                                                                             11                                                 By: /s/ Aris E. Karakalos
                                    4550 E Thousand Oaks Blvd Ste 250

                                                                        Westlake Village, California 91362




                                                                                                                                                                   Aris E. Karakalos
F ERGUSON C ASE ORR P ATERSON LLP




                                                                                                             12                                                    Attorneys for Plaintiffs
                                                                                                             13

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                                                                        Ventura, California 93004
                                    1050 South Kimball Road




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                                                                                                                                                             COMPLAINT
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                                          DEMAND FOR JURY
 1
           Plaintiffs hereby demand a jury trial.
 2

 3
     Date: April 17, 2020                           FERGUSON CASE ORR PATERSON LLP
 4
                                                    By: /s/ Max R. Engelhardt
 5                                                      Max R. Engelhardt
                                                        Attorneys for Plaintiffs
 6

 7
     Date: April 17, 2020                           STRAUSS & STRAUSS APC
 8
                                                    By: /s/ Aris E. Karakalos
 9                                                     Aris E. Karakalos
                                                       Attorneys for Plaintiffs
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                                               COMPLAINT
